           Case 2:20-cv-01402-GJP Document 94 Filed 03/29/21 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


        PATRICK MCDERMID                                    :        CIVIL ACTION
        individually and behalf of all others               :
        similarly situated                                  :
                                                            :
                          v.                                :
                                                            :
                                                            :
        INOVIO PHARMACEUTICALS, INC.,                       :        NO. 20-1402
        et al.                                              :

                                                    NOTICE

This matter having been referred to Judge Hey for the purposes of conducting settlement proceedings, the
following procedures shall apply (see Judge Hey’s policies and procedures):
http://www.paed.uscourts.gov/judges-info/magistrate-judges/elizabeth-t-hey

1. All communications with chambers regarding settlement should be directed to:
   Chambers_of_Magistrate_Judge_Elizabeth_Hey@paed.uscourts.gov

2. Judge Hey requires that parties and representatives with authority participate in settlement
   conferences. Settlement conferences are being conducted remotely (by video where possible) during the
   time in which the Court’s activities are affected by the Covid 19 outbreak.

3. If the referring Judge has specified a time frame for the settlement conference, Judge Hey’s chambers
   will contact counsel to schedule the conference within that time frame.

4. If the parties jointly request a settlement conference, they shall contact chambers and request a settlement
   conference within their agreed-upon time frame, and must do so at least 45 days prior to the requested date
   absent unusual circumstances. If the parties have agreed that certain discovery should take place prior to the
   conference, they must complete that discovery before the conference. The parties should not request or
   agree to a date without being confident that they can complete the required discovery sufficiently far in
   advance of the conference to be prepared.

5. If there is no joint request for a settlement conference, a party seeking a settlement conference may submit
   an ex parte letter to chambers requesting a telephone conference with Judge Hey to discuss
   settlement. Judge Hey may also sua sponte contact the parties for a telephone conference to discuss
   settlement.

6. If the parties have not been in contact with Judge Hey respecting settlement prior to the end of all discovery,
   they shall provide a status report respecting settlement to Judge Hey by that date.

             /s/ Mia Harvey                                                   Date: March 29, 2021
             Mia Harvey, Courtroom Deputy to
             ELIZABETH T. HEY
             UNITED STATES MAGISTRATE JUDGE
